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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

UNITED STATES OF AMERICA,
Docket No.
Plaintiff, 16-407 (JLL)

NOTICE OF MOTION
TO ADMIT
NATHAN B. MONTGOMERY MATTHEW J. LOMBARD, ESQ.
PRO HAC VICE
Defendant.
Xx

 

MOTION TO ADMIT MATTHEW J. LOMBARD PRO HAC VICE

I, Brian Neary, pursuant to Local Rule 101(c), move that Matthew J. Lombard be admitted
as a member of the bar of this Court pro hac vice for the purpose of representing the defendant
Nathan B. Montgomery, in all matters relating to the above-captioned case. In support of this
Motion, the Certificate of Attorney of Matthew J. Lombard is attached. Mr. Lombard is licensed to
practice law in the State of California as well as before the United States District Courts for the
Central District of California; the Southern District of California and the United States Court of
Appeals for the Ninth Circuit. Mr. Lombard certifies (1) that he is a member of the bar in good
standing in every jurisdiction where he has been admitted to practice; (2) that there are no
disciplinary proceedings pending against him as a member of the bar in any jurisdiction; (3) that he
has not previously had a pro hac vice admission to this Court revoked for misconduct and (4) that
he is familiar with the Rules of this Court.

Respectfully submitted,

BRIAN J. NEARY
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Dated: May _, 2019
Certificate of Service
I hereby certify thaton May__, 2019, a true and accurate copy of the foregoing will be served

electronically via the ECF on all counsel of record receiving electronic notifications, and that all parties
not receiving electronic notifications will be served via first class U.S. mail, postage prepaid.

BOD
